                Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 1 of 16
       ..



                                                                                  - I -

                                               FEDERAL Bl 'REAl. OF l\\'ESl IGATIO\




                                                                                                            lJatc ,JI. ll,llh,·1 ljllll'll



                             CARMELO NINO MARTI¼~Z, also know~ as CARMELG MA?TINEZ,
            CJ.i.RMC:LO Sl:.l·JTP.N.~., CARMELO MP.RT HJE Z Sl-.NT.~1;1-., CP.RMELO SAl~T I-.l~l-.
            MARTINEZ, CARMELO IHNO SANTJl.UA, ar:d "RUDY", (Hereinafter referred
            to as MARTINEZ), (Hispanic; Male; Date of Birth:                                        ;
            FEDERAL BUREAU OF PRISONS, [FBOPJ, Inmate Register Number 79574-
            079), was located at the MOSHANNON VALLEY CORRECTIONAL INSTITUTIOK,
             (MVCI), 555 Geo Drive, Philipsburg, Pennsylvania on the date of
            investigation.             After being brought to an interview room within the
            MVCI, MARTINEZ was advised, in English, of the identity of the
            interviewing agents and the purpose of the interview.                         MARTINEZ sat
            in the appropriate location when directed by the investigating
            agents.      Present during the contact were FEDERAL BUREAU OF
            INVESTIGATION, (FBI) , Special Agent, ( SA) , WILLIAM E. EBERSOLE,
            Philadelphia Division, Williamsport Resident Agency; and FBI SA
            MICHAEL J. HOCHREIN, Pittsburgh Division, Laurel Highlands Resident
            Agency.

                      MARTINEZ was orally advised of his Miranda rights in
            English at approximately 9:56am.  MARTINEZ advised that he
            understood and nodded his head up/down in a manner of affirmation.
            MARTINEZ was asked if he would like to read the Miranda rights form
            in English or Spanish.  MARTINEZ advised that he can read and write
            in Spanish and was provided with a Miranda form in Sparlish.
            MARTINEZ appeared to be reading the form and advised, in English,
            that he understood at approximately 9:57am.  MARTINEZ did not sign
            the form at this time.

                              MARTINEZ was offered a cup of water and declined.

                      MARTINEZ was again asked if he understood English and
            moved his head up/down in a manner of affirmation.  MARTINEZ the~
            said in English "Yes, I understand".

                      MARTINEZ wanted to know why the investigators kept
            questioning him about the murder of ANGELO GARCIA.    MARTINEZ was
            advised that he was ide:-itified as being the "right hand rna:-i" for
            CHICO, also known as OBEL JULIAN CRUZ-GARCIA.

                      ~ARTlNEZ was asked
            t ht: l i t t .:_ e boy v, a .::
                               Ki d n. ape ci .
            investigating agents thaL he


Im cs1iga1i,,11 011     0S/23/2Cl:             at   P !1 i l i p s b ;_;_ r g ,      F I-.
                      - -- - -- - -
lik#        7A-HO-7106:?

            SP. William E.           Ebers-:_JJ_c/v:ee
                                                                                             H
l"
            EXHIBIT 101 Page 001
                                                                                     11 i, th,·   111n11L·r1, nr
                   Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 2 of 16

          .
FD-J112a1R~1 10.,,.,J_,1




               7 .~-;-ii)-71062



C0nt1nuati0n "f FD-302 tJI                                                                   L)Jl   ::S / 23 / /Q .. -   . P.1g.~ - - - -




               in Spanish if he was with CHICO on the night the little boy was
               kidnaped.  MARTINEZ did not answer.
                        The intervi ew then proc eede L En glish.          MARTINEZ was
              asked if he was with CHICO on t h e d a y .Z'\.r!GELO was kidnaped.
              MARTINEZ admitted that he wa s wi th CHI CO for some time on the day
              of the kidnaping.  MART I NEZ a d v i sed that h e "worked" for CHICO.
              MARTINEZ further stated tha t some t i me s he wo uld "work" for CHICO
              and sometimes he would " wo r k '' f o r o t her pe ople. By "work" for
              CHICO and others, MARTINEZ c l arified th at he meant he trafficked
              drugs for CHICO and other individua l s not specified.

                        MARTINEZ was advised that the interviewing agents were
              assisting in an investigation into CHICO and what happened in the
              apartment of DIANA and ARTURO.  MARTINEZ was advised that based
              upon "DNA evidence" it was known that CHICO was at the apartment of
              ARTURO and DIANA. MARTINEZ was further told that CHICO has been
              charged and other investigative leads had been followed up on.
              MARTINEZ was told that his statement would not be the only source
              of information against CHICO.

                        MARTINEZ was asked to assist investigators. MARTINEZ was
              told that a n y co o pera tion he gave would be made known to the
              prosecutor a n d t he presiding judge.    MARTINEZ was further told that
              ANGELO and i s f a mil y need to put this matter to rest.
                        MARTINEZ advised that he felt bad and that the parents of
              ANGELO picked their life but the little boy had not.
                              MARTI.NEZ was a sk e d ho w AN GELO d ied . MARTINEZ responded
              by s tati ~g that he (MARTI NE Z) has had rothing his whole life .
              .1Ji..RTI NE Z init i ally a d vised -c.r,a CHICO tol d him nothing about the
              d e ath o f ANG ELO .      'ARTINEZ then re layed that ANGELO paid for what
              t h e p ar en t s d i d . tlARTI l EZ was asked i he ·;1 a s told this by CHICC.
               IJARTI 1EZ then ad -ised _ha         h e only :1as we , 2) more years in jail.
              MARTINEZ then stated th a t _!-i:~o :: ol:i. him , 1 ARTINEZ) nothing.

                                 Af~er SL. a c ~ng -t3t :H r:: had Lo:d ~ i~ nothing abc~t :ne
               :lisap. ea~ancE: an :i deacr: .::.: ALJ:;SL,::; , >JAR:I:-iE: , as auesc:.ioned abo'JL.
              'tJh~: :-.1:: , 'JJA:=:.~:;:iiEZ , , .'1 0' .!.ci say - ~at: ;... !GE:;..c paid :or l-:is parents
              ac i:;:--. s :)r :i..::-=Si:.~·.:..-2 .     >iAK-=: :i:tJ2Z ' s ~eS::-,!""r.SE ·.-:s s tha-: he, (MAR':'Hl:::Z ) ,
              1 ._s=. n:.s ·.,; ·.o:-:: .:.i::'c::. . ;;e ,e .:.accra~ e d ::::ac:. :-,E- nc; :anger saw his cwT.
              sons, mother, or had a marriage.                                MARTINEZ co~curred with the
               investigators' s~ggestio~s c:.~at it was Cf :Co wn~ caused him ta
               'lose his :ife.'


               EXHIBIT 101 Page 002
                         Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 3 of 16


I D-3U2,I I IZ~\    11 )-1,-')5,




C,,111111L1,lliun of FD-302        ,,C                                                           On   ~ : 1 ~ :_, / ~ _ - :   i'il~L'   --=--- -


                                MARTIE Z a ske d if __ -2 :._ ncervie wing a gent s kn ew e: ver y t r. i r: g
                   abo u · d: e ca s e . MP.RTI NE:Z " a s t ol :i r.ha c t h e ,,ar i ous i n v.::: s ti ga r.ors
                   have dev elo ped p ro of agains t CHI CO b ut , t h e speci fic s c ould n ot be
                   given to MARTINEZ in order to proc e ct th e case .                  MARTINEZ wa s
                   adv i sed that the interviewing agents wanted his assistance ; and
                   although there was scientific evidence to pr o ve CHICO ' s involvement
                   in the invasion 0£ t e GARCIA ' s home as well as the rape of DIANA
                   GARCIA , there was a need to complete the picture of what happened
                   to the little boy ANGELO .

                               MARTINEZ was asked ,,;ho was with CHICO when CHICO le f -c t he
                   apart me nt of DIANA and ARTURO on the day ANGELO was kidnaped .
                   MARTINEZ initially did not provide an answer .     He was then shown a
                   i mage of ANGELO 's remains as presented at autopsy in 1992 and an
                   ante -mor tem image of the boy which appeared to be a school
                   photograph from an unspecified year .     Both images were provided to
                   the investigating agents prior to the intervi e w by the Harris
                   County , Texas , District Attorney 1 s Office.

                             MARTINEZ was asked how ANGELO died.    MARTINEZ was told
                   that CHICO wou ld go to trial for the murder of ANGELO with or
                   without the assistance of MARTI -Ez . ~~RTINEZ was t o ld that hi s
                   assistance would make for a better case against CHICO , . who is not a
                   good person . In response , MARTI JEZ remarked that his mind is
                   different now and that he has spent fourteen (14) years 0£ real
                   prison time . MARTINEZ repeated that he never sees hi s kids nor his
                   mother .

                             MARTINEZ was again told that the interviewing agents
                   could not disclose specifics. MARTINEZ was told that his version
                   of the events leading to the murder of ANGELO was what counted.

                             MARTINEZ advised that he did not like ~o testify.
                   MARTINEZ advised that he has a crimin a l conviction and that he was
                   a    "partner"          ! socio ) with -:H:::co .

                                         ~A ~:~ EZ wa s advised ~hat the interviewin J agents wer~
                   no _ c oncer~ e d w! c h p~evicus drug trafficking .                               MART I 1EZ ~as to:d
                    _ha t ~ ~e ~ n= e r~i~wing agents were interested in the murder of
                   A G~~C n ~ any c cperat.ion MARTINEZ provided ~~J~d ~e ~ade kno~n to
                   t: '.1 •~ prosec · '--,::: and pres idi:, g j c.:dge .           :-le ·tJa s aga i 1-. asked t.o tel j_ -:::.:-,e
                    i~terview i ng a gen_ s about ANGE~O.                         ~A~T:~EZ 3sked if t~e go~ern~enc
                   J-. o e rH)'l:Jh t:, " ge;: CEIC) ".             >JAF-=:-:=t1sz :: :..;rthe:::- as:-:ed aco :_;_c. £,is safet'/
                   ,:- r- :.: he .:: onlp r- ~~(i . ~e :lid ~--:•::t '. •lar:~ -~:> :no-;,rs £r- :r t.he f:,rison in ·Nhich


                    EXHIBIT 101 Page 003                                                 -----
                          Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 4 of 16

           .,                                                                                                 - - - - ,- -

l'/)-.111~:i,Rn        Jll-1,-'J:-1




                                                                                            Un   =:; ' 2 -:, / .;:' - • .                     l'.1~c _ _..., _ _




                   he ~as incarcerated at the time of the interview.  MARTINEZ advised
                   that CHICO has hurt a lot of people.  MARTINEZ further stated that
                   in CHICO's head "it's crazy".

                            Again , MART NEZ commented that he has spent fourteen (14;
                  years in jail and does not care for his own life anymore.   MARTINEZ
                  lost his life and family . At this point in the interview MARTINEZ
                  stated that he was not involved in the murder.   MARTINEZ was
                  advised that if he tells the truth and was not involved in the
                  murder he co uld not be charged criminally just because he's a
                  £riend of CHICO .

                               MARTINEZ was again asked to pro J'ide details , if he knev1 ,
                  of how ANGELO died .    MARTINEZ stated that he did not see the murder
                  of ANGELO .    MARTINEZ was asked if he he ard CHICO or others talk
                  about the murder of ANGELO . The in ves tigati n g agents then
                  explained that this murder investiga ti on will continue ad that , in
                  t h e future , investigat o rs woul d likely question him until the case
                  was resolved .    MARTINEZ was again asked for his assis tance in
                  providing details of what went on the night ANGELO was taken from
                  his home.' The investigati ng agent's asked MARTINEZ to consider how
                  he might feel , as a fat her to two sons, if CHICO or someone else
                  came into his home , tock away one of his boys, and killed his
                  child .

                             MARTINEZ then advised t hat he did not have a problem
                  telling the truth and did not wa nt an attorney present . MA RT L EZ
                  advised that he would tel l the truth . At approximately 10 : 30am ,
                  MARTINEZ signed che Spanish version of the Advice of Righ s form .
                  This wa s the same f orm he previously appe ared to read . At no t~me
                  between the time he was presenced w:..-h the form and signi n g t: he
                  form , did 1ARTINEZ request legal co· n sel or impl · thac he wished to
                  consul t with same .   Following MAPTINEZ ' s signa ure of the Ad ice o~
                  Rights form , invescigating agen s EBER CLE ar.d ~OCHREir signe sam~
                  as witr:esses . ~h at. for .. is cu.rre:1tl · rr,aim::.ai1 eci as -=.-,-.:_de0ce D/ c:r.s
                  Fe 'eral Breau of I. ves igacion .

                            ~ARTINEZ stated tha~ he hai 2o~e c~ Texas --
                  apprcxi~ately 19eg er ~989.  A~ ~ta~ r~~e, ~AR7INEZ ne~er used
                  coca ~!;.e.
                  ea~:ier ir1 trle i~L.e::--·1ie://, L1JJ.. ~1=:~::=z :1·0·..:~:i qc \,1-:._t~ ?a~~o·...:s :~i-2:---.. ds
                                                                          1


                   ',tiC r k ''.
                  11
                                 i"~?. ~.TI>1::=z "•,1ork~c1" fo~ =:E= •-:=:.
                                                                                                                    ',,.    __ _-- r_ ,

                                                                                                                  .':.. !. \ :.~~ ::.~ ·- -    -
                                                                                                                                                   ·'




                  EXHIBIT 101 Page 004
                     Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 5 of 16




                 7.~-!-:O-'71062


c,,ntint1at11,n ,if FD-302 ,if                                            t ln   O.S / 2 3 / ') 2 • •


                ?~co to use the beach.   CHICO was married to ANGELITA.  MARTINEZ
                had gor.e to the Dominican Republic and then back to Puerto Rico.
                CHICO was working for VICTORIA RODRIGUEZ, the father of ANGELITA,
                a'C that time.

                                 MARTIEZ made a second trip ~o Houston , Texas,                    and met
                CHICO .  M.Z\RTT 'EZ was " working " in Houston whi ch MARTI1'1EZ e xplained
                meant se lli ng drugs .    MARTINEZ and CHICO began to sell drugs as
                partners.    MART I NEZ began u sing cocaine mor e and more and was
                " going down hill ".    ANGE L ITA and CH ICO were married and ANGELITA
                wo uld help CHICO with food , apartment , health issues .     MARrINEZ had
                no one to help him .     MARTINEZ was also working with other dealers .
                MARTINEZ 1 s li£e was deteriorating .

                          One evening, CHICO came to MARTINEZ and advised that he
                (CHICO) wanted to go see DIANA because she and ARTURO had cocaine .
                MARTINEZ advised that this was the night ANGELO was kidnaped.

                            MP.RTINEZ then stated that he would tell the truth to the
                interviewing agents .     MARTINEZ stated that o n ly three (3) people
                know what happened to ANGELO that evening :      MARTINEZ , CHICO , and a
                Puerto Ri c an male named ROGELIO , also known as ROGER , a lso known as
                BORI.   MARTINEZ desc.!'."ibed ROGELIO as a tall male .  MARTINEZ then
                reiterated that he did not wan to test if y .

                          MARTINEZ was shown an i mage comprised of the photographs
                of nine (9) individuals believed associated with t he Houston
               investigation .   The image was provided to the investi gati ng agen ts
               by Houston .  Throughout the remainder of the interview , t he image
               was on the table bef ore MARTINEZ and he occa s i on a ly pointed t o
               ,arious p hotog raphs of individ als while recounting events .
               MARTI E Z conti ued by stacing that CHICO ruined his (~ARTitE 7 ' s !
               li_e , CHICO was ide. tified by the interviewee as th e " boss ". }-.s
               detailed later in ~ne i cer~iew b_ 1ARTINEZ , CHI - 0 ji n o c ki::
               A GELO , CHICO o ld so e ~e _o kill AJGELO .

                            MARTINEZ knew that CHICO had gone to DIANA 1 s apartment in
               ::l:.e past but never did an:/thing era zy. tv'.ART INEZ advised "-chis or,e
               was crazy''.    MAR~INEZ tten pointed to a phctograph of ~NGE:o a~d
               ag3in stated "::raz:.,111 •

                         ~ARTI~EZ advised t~at he stayeci           ~~   -che car w~i_e CHICC
               and ROGELIO went to 0IANA's apartment.




                 EXHIBIT 101 Page 005
                         Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 6 of 16


FD-302~ t Rn         1O-t,-951




                    ~A-:18-71062


Cu1ll11\UJllllll   ,Jf FD-302    ,,r                                                                                                 Pag~ _ _6_ _



                                 '1AR':'I ·JEZ :r1as showr: a p ·.otcg~apil :,: a :·,1c .~, doer
                    , ehicle , bron::e :...n color , wit:     " S c;,:e ' s E.:-,hicir. 44 " liste · ~n the
                    lo wer corner . MARTIEZ advi se d hat. this was nat the -e· icle that
                    was ~r1 1e. ~o • IA A ' s apartmenL .          CHICO was driving a , bl e ,         four
                     ( 4 ) Joor vehicle , ROGELIO was in the back sea t , and MARTINEZ was in
                    the front seat , passenger ' s side . MARTlNSZ did n o t recal l if
                    ROGELIO was on the l eft side or right side .

                               MARTINEZ t hen asked for a paper and pen s o t hat he co uld
                   draw a p ict ure o f DIANA ' S a .d ART URO ' s ap a rtment bu il ding . He used
                   that representation to draw , or i ndi cate , p ositio ns and movements
                   of CHI CO , ROGELIO , and himself on the nig ht ANGELO wa s abd ucted .
                   For example , MARTINEZ made a bold lin e to depict the positi o n 0£
                   the vehicle he , CHICO , and ROGELIO us ed as parked in a side street
                   or alley next t o the apartment building . On the s i de of the
                   rectangle .represe nting the bu il d ing , and opposite the side on which
                   MARTINE Z represented the vehicle was parke d , he marked the p osit ion
                   of DIANA's and ART0RO ' s apartment .      MARTI NEZ b elie ved that the
                   vehicle was parked in an alley s i nc e there was li ttle traffic.
                   MARTINEZ identified a street he believed to be Fair way Drive and
                   then noted a football field that was in the area of DIANA ' s
                   apartment as well .    MARTINEZ also noted a gas station and stores in
                   the area as wel l.

                             Field Note:  The writer made the notations on MARTINEZ's
                   diagram for "car", "Fairway Drive", "gas/stores, etc", and
                   "football park".

                              MARTINEZ did not remember the name of the street he
                   parked on.   MARTINEZ advised that he arrived at this location
                   during the evening hours.

                               MARTI'EZ h ad l i7ed i n this nei ghbo r hood be£ore but! a
                   di  ferent apartment .   P~ior co mo.ing to a new a p ar men , MAR IJEZ
                    aj lived in this area with DIANA 3.:d ;,:\FT . 0 .    t,ART.: tl EZ ·-hc...;gr.~
                   tr.at · e was in the 7ici i!:y of Winf red .:,tree t . 11lAR :!:'-JEZ _he::. li. -=d
                   with his wife and : i t:e boy .

                                      MAR ItSZ cidvisej tnat CHI~ ~ o~1 aJG~~I C ~a:~~j ~~c~ ~h~
                   c r,       - ro r.    be apa :::::men t c .. LL ing an.:i :. :i _r;G _.:ccr.: . :•,!::C.. _ : I~EZ 1·:~ s
                   s r:c·,-.,n a 2011 l.apgues;: c-=ri.' .il .::__mage cf -: he 6 7 05 :air-,.;a~' Dr .:._ ·;-=: ,
                   ~o~sto~ , Texas envirc~s b·- d~j ~oi: r~-og~ize the area .           :~s:.~aj ,
                   he re t ur .~d t o ~is ha~j jrawn j.:._agr~rn a~d - t o~ g~t et a:~· ~rwa~
                   =:- r·,_.e cuts.:.de -::~ L:P., JA ' t'   p rL.men _     7o:;11't';?..i..2.:.   ~e:l-;   · -:- ,   :,!.'.'   ,:.:1s :..:.



                     EXHIBIT 101 Page 006
                           Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 7 of 16
                                                                                                              ----------




L\,11L111u.1t1lll1   ,,f i:D-30~ "'                                                                                  l ) 11   C) 5 /   ~   3 / 2 ~ : =-   1':1.:,;, _ _
                                                                                                                                                                      7 __



                      the vicinity of an unspec~fied freeway.                                            MARTINEZ recalled gas
                      stations in ~he area.

                                   i~ TINEZ agai~ seated that he was in ~he parked car on a
                      lict · e street with ery little traffic.     MARTINEZ was in a blue,
                      four ( 4) door , Chevrolet .   Later, he stated that he believed CHICO
                      o wned tha vehicle .    MART INEZ was never told about any act of
                      violence , to include rape , by CHICO or ROGELIO.    MARTINEZ was told
                      by CHICO that CHICO wanted to go to DIANA's for "lo mio" or my
                      stuff.    MART INEZ advised that CHICO had a gun with him.   MARTINEZ
                      thought the gun was a . 45 pistol.

                                  While MARTINE Z remained in the car, ROGELIO and CHICO
                     wen t to DIANA ' s apartment and apparently went inside .      Because he
                     stayed wi th the vehicle , MARTINEZ did not know wha t went on i n t he
                     apart ment .  ROGELIO and CHICO return ed approximately five (5) to
                     te~ (10) minutes later .     CHICO was ho l d ing ANGELO . At this poi t
                     in the interview , MARTINEZ stood up and held his hands .across his
                     chest , mimicking how CHICO allegedly he ld ANGELO when be returned
                     to the car .   When asked if the boy was crying, MARTINEZ stated that
                     he was not .   He explained that ANGELO was familiar with CHICO as a
                     friend or associate of his parents .     MART I NE Z was sitting in the
                     driver's seat as CHICO and ROGELIO approached the car with ANGELO .
                     MARTI NEZ asked CHICO " what happened " and " what are you doing" .
                     CHICO responded with words to the effect " the little boy saw me ".

                                 Later , toward the end of the interview, MARTINEZ was
                     asked if he recalled whether or not CHICO smoked cigars .            He
                     replied that he did .     He d i d n ot recollect _he brand of cigars but
                     described them as be in g '' big " an d not the size of cigare tt es .
                     MART ,JEZ f1lrther conf i rmed tha t on the n ig ht: of .Z\NGELO' s abduc Lio:--. ,
                     CHICO was smoking a cigar and may have taken one into o - AdA ' s
                     apartment .

                                         . AP.T :i: JEZ then stated " o t.ell yoL: the tr'Jth" he
                      (L-1.n.RTillE Z) n e::-7er rho · gh      h i s ·,; o u l d hapi;;en . [,JARTHlE Z arlvis e-::: ::;; :.
                     h~ kn ew t he inr.er·,i e •,; i .g ag~ nt s             ho ught ~:Ai=<.'I L~ EZ ·,, as · ca g1.:y i::; · -::
                     h e 1MARTIL1EZ) ne ' er th o ught t r.is wou d appe r. . .1!A~THLE Z aga i r.
                     !Joked a            t~e p~ o t o - r aph of A lG E~C a~ d a d7.::.2 ej -: h a t ~he ~ he 5 e ~~
                     t h.::.s phc o gr ph r.e rr:.~RT: 1E Z) :.h i r:ks •~ f h is .:; T. l : -:t::::..e c c ~· .
                     .-Lu.::n :i:1 E:Z a d· i .=ed :.:iat h's :-31:. ~le bc-y ·,,·as s :.rr.i l a r t o .:... tJGE : :__-2 . -:-~-s
                     ~G te I7~ew e e ' s ey~s a pp e re ri -: o ~~ d e. 3n d ~a c e r . ~ a e~ ~ ~ -:~~
                     intEr ;~e w, a                  ~~ -ed b e: ow , he              ega n ~o weep wh.::.le sreak.::.rg c~ ~~a=
                     rad       ~      _-9 e- :--, e .:l r:.c: A': GE~ ,   J ..   r-..::. s si t'.Ja~icn 'tJ.::.~r.
                                                                                                         r,is ,-:•,;:-, s:::::-:s.



                      EXHIBIT 101 Page 007
                               Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 8 of 16


11)-.111~:l 11{,:\       J (Lt,-•)~ )




(_ ,,111111u,1l1,111   ,if JT)-_,1J2 ,,(                                                                                                               l'a~i: _ _ __



                                      K:\RT INEZ advised tha -c when CH:::CO ca.me back ·.-.: :_ t: h Ai,JGELC,
                        MARTINEZ aske what happened and became very scared.                   MARTI NEZ t h en
                        poi~ted to t he post-mortem phot:ographs of ANGELO set bef o re h im b y
                        t:he ir,'1est " gators and stated "this is a real problem" .

                                   MARTINEZ directed CHICO to go back t:o DIANA and say he
                        was sorry or try something to end the situation .   MARTINEZ wanted
                        CHICO to " fix it".  CHICO responded with words to the effect " hey
                        man, I fucked Diana''.  MARTINEZ then advised that he did not care
                        and maybe things could get fixed.   MARTINEZ wanted to have CHICO
                        say he was sorry.   CHICO responded in the negative.

                                   Ultimately , CHICO and ROGELIO did walk back toward the
                        side of the building where DIANA's and ARTURO ' s apartment was
                        located . MARTINEZ believed that CHICO handed ANGELO to ROGELIO.
                        However , CHICO and ROGELIO quickly returned to the car a second
                        time with ANGELO .  This second trip to DIANA's apartment lasted
                        five (5) minutes or less.    MARTINEZ did not recall what CHICO said
                        upon returning to the car the second time.

                                            MARTINEZ again interjected in his responses that he did
                        not want           to go to trial . MARTIN EZ was advised that his cooperation
                        would be           made known to the prosecutor and the presid i ng j udge .
                        MARTINEZ           was further advised that the interviewing agents did not
                        have the           authority to decide who wa s charged or who testified .

                                     Upon CHICO's second return to the car, MARTINEZ and the
                        other man became very quiet.      MARTINEZ then drew a picture of the
                        car . He depicted CHICO as occupying its front seat. MARTINEZ was
                        in the back seat positioned behind CHICO while ROGELIO was in the
                        ba c k seat , passenger ' s side. ANGELO sat in the middle of the rear
                        seat .   The front passenger seat was empty.

                                     CHI O then pulled awa y from t he Fairwa · Cr i -e apa.rtmen
                                      MA RTI NEZ was n o~ s--re i - ~H: co :ir o -e t:r aigh :: or dr-.,,.~
                        b ui2.d::_ ng .
                        i ~ r eve rse c o ge e c~ a str e e . MAPTINE Z reca l led h~ad:.~g ~: d
                        sL ~e ~t ne a_ Ro~t:e 225 . l ART:~EZ ~h~~ gh __ his wo~ld be ? ree~a~ -~

                                               >:A?.T:!:.· EZ ·:1 as ::h::i•.-; ! . !:I .::.c - :;_ !"l! '- ~q · 2 "'t stri2e:. r:-.ai: ·,: h:=r
                       :l ,;;:p :..::r. e d Ga - er.a Pa r :- , ?:1 s ade;1 , De er F- ar .-: , a :-:.:i. ::: a··T o\•n-: .                  :1;:-~3.::;:: :::: :
                       •.•1a;:5 :1-: . . :::.s :::-~ ain b            r.ho g i:t: t:1a ;:: th-: ; :-,:)Uf :iro·1 •;:i " •• 45 :::, ::.:- : -.:.
                                                                                                     1


                       3a./·;:,J '.-;r . .     J•;ri · :_t :_r:s:c!E t.h e c r , ~~oiJ "',:iJ' Lol/~ .= t .                    Ai~ 3::L\ cii::i !"':~L i:.:r
                                                                                                                                 1



                       becc1ucce he :li · r.ot k n ow -:.h'2::-e .-:as ) p: b2.,=m .  1                                 ;._.:_.:_ :~.~2 ""   .)         ::·~_-::;:
                       .:__, L:°>= """ar :             >J..., P~ I!l EZ, ~H:::(J , :-!~· .. :\~ EL I) , t.::~_~ ·.•4 :~.~-.. . ~ '.•ta.::
                       r r :b:..er., .

                          EXHIBIT 101 Page 008
                        Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 9 of 16




c ,,111111ua11011 nf l' D-302 ,11




                            MARTINEZ did not know what CHICO would do to the li~tle
                  boy.  MARTINEZ again advised that no one was talking.  CHICO made
                  one (1) telephone call prior to going to DIANA's apartment that
                  evening but MARTINEZ could not recall if CHICO made any calls with
                  ANGELO in the car.

                            MARTINEZ advised t a t CHICO was intelligent.       After
                  driving on 225, CHICO drove in t o Baytown and went do wn a dead end
                  street.  Al though MARTINEZ was familiar wi ·t h the Baytown area ,
                  having sold drugs in th at area , he did n ot r ec ogn ize the dead end
                  street, or recall its name.   MARTINEZ advise d that there was no one
                  on the street when CHICO stopped at its end which he described as
                  being rounded with wooded area(s) near it.

                             MARTINEZ advised that he had been to Bayt o wn many tim es
                  and had friends there for the purpose of dea ling dr ug s .      MART INE Z
                  wo uld go to the Baytown Canteen Restaurant and would danc e , drink ,
                  and engage in drug activi t y.  MARTINEZ did n ot wan t to di sclo se the
                  name of his fr i ends in Baytown.  MARTINEZ adv i s e d tha t t he s e
                  friends were involved with drugs but not the murder of ANGELO.

                             MARTTN8Z advised that the road was not near the water.
                  MARTINEZ then drew a picture of the road on the back of a MapQuest
                  depiction of Baytown . MARTINEZ agai advised that this was a real
                  qu iet neighbor hood . MARTINEZ stat ed Lhat the road they were on was
                  a dead end and had some wooded area.

                              MJI.RTTNE Z advised that CHICO pulled over and told ROGELIO
                  words to the effect " d o i t ".   MARTIEZ used the phrase "ya tu sabe
                  l o que t ien e que hacer " which i s unders tood to mean "you known what
                  yo have t o do '' .    From his statement , ~ARTI 'E Z opined that ROGELIO
                  k e, all along that he (ROGE~IO ) would have t o kill ANGELO.

                            MARTINEZ again stated that he did not know that ANGELO
                  would be taken and then murdered when he (MARTINEZ) agreed to go to
                  DIANA's apartment.  MARTINEZ advised that there was no compariso~
                  between him and ROGELIO.

                                    ~~h 2".::,lEZ ~h~?n :ire·.v ,. ::itf"i ·: ~ i r: c. := ~:, ~.;: -:.::-. fJc::_.:_r_: 3s :-:~
                 rsc - 1~:==ej 1- was stopped c_ ~he en1 ~~ =1 e i~ad e ~d ~c~a~= ~~
                 3 a /t: o ·,;r. . HE: ~.::,pres2:-.t:eci h.:..r.. s~ :: :: ~ cc e;c ... i-r.3" -: he -·•::r.ic=..-= f.~:r-
                 ~ass~~;er _ ~•de a~j ~a:k ing ~n t~e ~~r e ct io~ -: ) ~a~js t~ ~ f~- ~=
                 _r.e v ehicl e .         ~,J.:.__ -:-:;:i :EZ c o··ld :-: c t se 12.- 1.,ha ~ ·,.ra-:i :-,ap_cE:~ir:;i 0 ...:-:. ·.-,a -·
                   c:-? ;: : 1-: ear ::. :--112: ;: ;) j_ 2- ow i :1 o e ·v- e r. t: !'l T, _1_ : l :! :


                   EXHIBIT 101 Page 009
                     Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 10 of 16


FD-3ti2a IR~, I O-t.,-'l51




                 7.~-i-!8---:l:~62


c,,ntinuau,111 ,,1 FD-JIJ~ ,11    CARME~O MAR~I~E:                              On : c: /   2 3 I 2 ,J L.   P~lgL! _   _.L_t..,_ _




                               ROGELIO exite t~e 7ehicle and ~oak A GELO ta the
                 driver ' s side , rear , area of he ,ehicle . MARTit EZ cpined - a
                 E?.OG"::LI8 took AriGE:..O to -r:hat area cf the ver..:..cle in order o ake
                 ajvan_age of a dome light insid~ the vehicle . MARTIEZ did not see
                 ROGELIO stab or s lash A GELO but did hea r ANGELO cry one (1) -r:imE .
                 MARTINEZ heard AN GELO sa y " ugg h " and then heard ANGELO hi t        he
                 ground . MART I NEZ did no see the knife at t h is time .

                             At this t i me , CHICO was a t th e front of the car l oo king
                arc nd for anyone watching . CHICO sti ll had his pist ol with h i m.
                The gun was not u sed to k ill ANGELO or fi red durin g the i ncide nt .
                MARTINEZ was very s cared . MARTIEZ th oug h t his l ife was over at
                this ti me .

                           MARTINEZ then walked back and CHICO instructed MARTINEZ
                to help ROGELIO.    MARTINEZ saw ANGELO on the ground with his head
                towards the front end and his feet towards the trunk.        MARTINEZ
                depicted this on a drawing on the same piece of paper as the
                drawing of the dead end street referenced above.        MARTINEZ did not
                inspect ANGELO to determine the exact nature of the wound.        He did
                describe the chest area of the boy ' s clothes as covered in blood.
                The i nterviewee motion ed t o ward that ar e a of his upper chest below
                his ne ck as t he area bear ing blood on ANGELO 's clothing.    When
                asked if he no ticed b lo o d on any other part of the boy's body or
                clothing , MARTINEZ stated he d id no t .
                          Field Noted:  The investigating agents marked the diagram
                "Dead End in Baytown" with various identifiers to include the
                positions of MARTINEZ, CHICO, ROGELIO, and ANGELO, as MARTINEZ
                spoke and indicated same.

                                 MARTINEZ observed a large amount o f blood on the chest
                area of AJGELO .           MARTINEZ and ROGELIO took ArGELO ' s body an put it
                in --:h e back sea .          MART~ JE Z a g ain stated tho he 1,1as very scared
                ~~d =eali=ed che con seque ~ces ~f A~GELO ' s murder t ~= both himself
                and DIALJA .        1 .~RTI1 EZ thcught    abe, t the co .. ::eque:--,ces ::or hims1:lf and
                :)-;... r . anci r-: li.=ed tl    _ he . APT:: EZ) ·,:i-uj__. ne -2r Se-= r:i..:; ,:-•.-; :'.
                l~t-~e bvJ 3 ~a ~~ -
                          Field Note:           At this po~~c i~ cne i~-r:erview, ~ART:NE=
                began to tear up.

                          ~ARTINEZ again stated ~hat ~e ~as very scared. MABTI~EZ
                k~e~ ~hat drugs were c~e t~~~g buc ~h~s (uncierstocd IO mean~~~



                  EXHIBIT 101 Page 010
   Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 11 of 16




murder of ANGELO ) was "bull shit".        MARTINEZ again stated that
A_NGELO' s death was "bull shit".

          MARTINEZ noted that CHICO still had a pistol at this
time.  MARTINEZ interjected that CHICO, on another occasion, had
tied up MARTINEZ just to prove a point.  MARTINEZ then added that
he did not want the help of the interviewing agents, he only wanted
to tell the truth.

          MARTINEZ was scared of CHICO and complied with CHICO's
order to help ROGELIO load ANGELO's body into the car.  MARTINEZ
advised "what CHICO said" MARTINEZ had to do.  MARTINEZ had no
choice.  MARTINEZ held ANGELO by the feet while ROGELIO held the
body by the head.  The back doors to the car were open at this time
so ANGELO was laid across the back seat.  MARTINEZ was made to sit
on the back seat with ANGELO.  MARTINEZ stated that ANGELO was
"stretched out" on the back seat.

           ROGELIO then sat in the front passenger seat while CHICO
took his position as driver of the car.   CHICO drove away from the
area.   MARTINEZ recalled seeing a large amount of blood on the
ground.   MARTINEZ did not know where CHICO was driving to and
remained very scared.

          MARTINEZ did not see the murder weapon at this time.
MARTINEZ advised that CHICO drove around and eventually drove into
a more populated area of Baytown.  MARTINEZ described the area as
having more traffic, people, and lights.  MARTINEZ advised that
CH~CO knew much more about Baytown than he (MARTINEZ) did.

          MARTINEZ advised that they traveled to a location where
the highway comes close to a river.  MARTINEZ thought this location
could be close to 225.  MARTINEZ did not know the name of the
river.  MARTINEZ was shown a photograph of a beach/water area and
could not recognize it.  MARTINEZ was again shown a map which
depicted Galena Park, Pasadena, Deer Park, and Baytown. MARTINEZ
thought he could have traveled on Route 146 but was net sure.
MARTINEZ was asked if he was on a large or small highway. MA8IINEZ
thought he was on a small ~ighway with only one (1 ) or t~o ( 2 )
~anes.  MARTINEZ again stated t~at he ~as very scare d .

                   MARTINEZ noted that the car was sti:~ being d~iven cy
CHICO .          CHICO pulled over and ordered MA?TINEZ ana ~CGE:IC :o ju~p
t: [: e bc-,=i ~/ in the ;11ate:c . MARTINEZ reca~~ed tha~ the read :hey ~ere



 EXHIBIT 101 Page 011
                    Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 12 of 16


HJ-31l2a IR,, I 0-li-<l~ 1




                7A-!-iC-71C62


Con1111uat1011 of FD-3IJ2 ni'   _ _C'=,A
                                       ==--
                                         R=M=::~=--=-o~ =
                                                        \,L'."'!Jl-'.-'?-'
                                                                       -- :~         ====----------- .
                                                                          -"~I=..,?""'
                                                                                   ,J                On   OS / 2 3 /? 0 ·. . l   • l'al!C - -
                                                                                                                                            ~-2_ _


                on was very close to Lhe water so Lhey did not have to carry
                ANGELO's body too far.

                          ROGELIO and MARTINEZ threw ANGELO into the water but
                ANGELO's body floated.  ROGELIO and MARTINEZ tried to push ANGELO
                under the water but his body still floated.  MARTINEZ and ROGELIO
                looked around for items to weigh down ANGELO's body.  MARTINEZ and
                ROGELIO found some rocks and used the rocks to weigh down ANGELO's
                body.

                          MARTINEZ was again asked for the name of the road or
                roads he traveled on to dispose of ANGELO's body.  MARTINEZ advised
                that it was a long time but thought he might have been on 146.

                         MARTINEZ advised that he was covered in blood and
               sweating.  He wore a khaki colored jump suit because he was working
               for a mechanic around that time.  MARTINEZ advised that his khakis
               were covered in blood and dirt/mud.  MARTINEZ took a short break
               while at the river location.

                          MARTINEZ again stated that he was willing to tell the
                interviewing agents the truth and was not looking for compassion.
                During the incident MARTINEZ was scared and did not say much.

                         MARTINEZ noted that ANGELO's body eventually went down
               under water due to the weight of the rocks.

                         MARTINEZ recalled that CHICO still had a pistol with him
               and was looking around the area.  CHICO stayed at the car while
               MARTINEZ and ROGELIO carried ANGELO's body down to the water's
               edge.

                          Once ANGELO'S body was submerged, all three (3)
               individuals got into the car with CHICO driving.   MARTINEZ thought
               they might have been on 225 driving away from Baytown when a tire
               blew.   MARTINEZ estimaLed that they were twenty (20) to twenty-five
                (25) minutes into the trip.  A second tire then blew.  MARTINSZ
               recalled thinking that the flat tires were a real problem.
               MARTINEZ advised that Lhe car was off the side cf Lhe road ~ea~ a
               notel where MARTINEZ had stayed with ANGELI:A in ~he past.
               MARTINEZ described the hotel as being big and near a traffic light.
               MARTINEZ noced that if one was :raveling towards BayLown, the b~g
               hotel would be on :he right.   MARTINEZ, CHICO, and ANGELI:A had
               rented a room at this hotel in the past to deal arugs.


                 EXHIBIT 101 Page 012
  Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 13 of 16




                                                                                    , Pa~~ _ _:i._:_, __



                 MJI.RTiiH::Z did not: remember all three       ( 3)   indi vid:.ials
wa~k i • g to the big hocel a onc e . ~A.TI JEZ recalled that che hcte
may ha-,~ been closed . MARTINEZ thought: .::hat he might have ha t.o
push che car to i:he parking lot of 1:he big hotel .   MARTI ,JEZ also
chought hat CH I CO may have called a tow truck to put the car into
the parking lot of the big hotel .

          ROGELIO obtained a hot el room that night . MARTINEZ did
not remember the name of the hotel that ROGELIO stayed at .
MARTINEZ and CHICO went to an apartment used by ANGELITA . MARTINEZ
advised that DIANA would kno w this apartment as well.  MART I NEZ and
CHICO arrived at approximately 1 : 00am MARTINEZ did not speak with
ANGELITA . CHICO went into sleep with ANGELITA .
          MARTINEZ changed his clothes at the apartment.  MARTINEZ
threw out his sneakers but did not throw out his clothes.  MARTINEZ
did not wash his clothing.  He did not recall what happened to the
khaki jump suit.

          MARTINEZ advised that the car now was in the parking lot
of the big hotel and had blood all over the back seat.   In the
morning, MARTINEZ and CHICO obtained the help of a mechanic to get
the two (2) tires replaced.  MARTINEZ referred to the mechanic
using the name "RENDON" and advised that the mechanic worked from
his apartment and did not have an actual shop.   MARTINEZ recalled
that the mechanic lived in the Manolia (Phonetic) neighborhood.
MARTINEZ noted that one could pay the mechanic with cash or drugs
since the mechanic was a drug user.   MARTINEZ advised that the
mechanic put newer tires on the car and never looked inside the
car.  MARTINEZ advised that this four (4) door, Blue Chevrolet was
CHICO's and not borrowed from anyone.

            MARTINEZ and CHICO then went to a car wash in Manolia and
tried to clean the car to clear evidence.    MARTINEZ was not certain
but thought that CHICO then sold the car.    At this point, the
investigating agents again showed ~ARTINEZ the above-mentioned
pict:.ire of a bronze two :2) door car.  MARTINEZ examined the image
again and indicated he was not certain ~hether or not it ~as ~he
?ehicle he a~d CHICO picked up from CHARLI~ .   He said it was
possible.    MAR:I~EZ was certain that the car depicted in ~he ~~age
~as ~at used in che abd~ction and murder cf ANGELO GARCIA.

                MARTI~EZ was asked if he tald this story to anyone.
r,:P..~.lI~JEZ a.:f-visEci :.hat he ~~as ne7e~ 7::Jlcl ~r:::.s st )ry ~o a.ny';Jne e:.:Se
                                                                 1



anj ~oted that ~here was no way he :ould confide in anyone to


EXHIBIT 101 Page 013
                         Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 14 of 16

                                       -- -   - -- - -
Fl l-302.i IR,,     f I l-/,-'l5 1




l ,>11t111u~u,,11 .,J' FD- 302       ,,r                                                        ()11   ~   5/ ?3/   ~   Ci :   . Pa~~   _ _1_4
                                                                                                                                             _· __


                   include his parents and/or other family members.  While at the
                   aforementioned hotel, CHICO, ROGELIO and MARTINEZ made a pact ~ o
                   never tell what had happened that night.

                                MART I NEZ the n advised that he and CHICO picked up another
                  car . MARTIN EZ wa s not certa i n b u t chou gh t t he car wa s bei ng used
                  by o n e "CHARLT E" a t the time . MART I EZ adv i sed t hat thi s was also
                  CHICO ' s c a r .  MARTIN EZ noted that t hi s ca r was not involved i n t he
                  murder of ANG ELO .

                               MARTINEZ was again asked whe n he sa w t h e murd er weapo n.
                  MARTINEZ advised that CHICO handed MARTI EZ the knife t h e ni g ht of
                  the murder as they were driving a way from Bayto wn .              MART IN EZ did
                  not see ROG ELIO hand the knife to CHICO be fore h e , {MARTINEZ ) was
                  g ive n same . CHICO instructed MART I '1E Z t o throw t h e kni fe from tbe
                  window of t he mov i ng car .       MART I NEZ t ho u ght h e might have been on
                  59 , clo se t o a c h ur ch in an Af r ic a n Ame rican neigh b orb oo d .
                  MART IN 8 Z advised t h at t his ne i gh bo rh o ·o d is no w Hispan ic . MA RTI NEZ
                  adv ised th at h e may have t h ro wn the kn ife out of t h e wi n do w pri or
                  to havin g th e t i r e pr o ble ms n oted abo ve . MART INEZ des cri bed t h e
                  c hur ch as a ''Jesu s " chu rc h .

                            MARTINEZ recalled being interviewed by a detective at a
                  gas station some time after CHICO obtained the second vehicle.
                  MARTINEZ was very scared at that time.

                            MARTINEZ recalled washing the first car and picking up
                  the second car from CHARLIE, a large male, sometime in the morning
                  after ANGELO was kidnaped and killed.  MARTINEZ did not recall the
                  order of the events.

                              After picking up the car from CHARLIE, MARTINEZ and CHICO
                  went somewhere else but MARTINEZ could not remember.    At this
                  point, CHICO told MARTINEZ that he (CHICO) was going away which
                  MARTINEZ u nderst o od to mean ~he Dominican Republic. MARTINEZ co~ld
                  n o t go away because he did not have any money.

                                             _.r-.RTir r:: z f:3W • 0G S 2:.I :J 1:h i::- ;no ~ning af::er the murder o f
                  .;;:,,.1'-J GE:;:.. O .   iC_RTI\ £ ... sa w P.G _,£ i.i:C ai: a p..;i::, j_ic basketbali c o urt close :: o
                  3r o advi ay Sr:.:r-2-:: :--. ear a:n a .:. rpo!:::: r. •rr.ed "Hovey" I Phor:e-:ic ) .   MARTI '.·JEZ
                  l ast sa ·,, ?0-3 F.:L:O -py:roz~ma::el· c.-;:;              2 ,j ays aft~r r_;.-,_e murder '.):
                  )\l'JGE~ C-.

                             ~ARTit;Ez ~as asked wMers ~OGSL!O li7ed . M~RTINEZ aav~sea
                  ::ha~ RCGS~IC ~as sel:ing cocaine ~er a~ ~r:~de~ti~ied third party


                    EXHIBIT 101 Page 014
                       Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 15 of 16


J'J) -Jll~a IR~,   111 -6-<151




                   1.:..-i-i0-7::C062



                                                                           lln
                                                                                 ... ~,
                                                                                   ,-     -,,   .....
                                                                                                _, ,    . P.,g~ _ _l_S
                                                                                                                     __


                   and separated from this third party to sell drugs for CHIC O.
                   MARTINEZ noted that ROGELIO was selling cocaine for CHICO for a
                   sh o rt time before ANGELO was murdered . MARTINEZ repeated that
                   ROGE LIO was also known as " Bari ".

                             MARTINEZ was asked if he discussed the murder of ANGELO
                   with ROGELIO or CHICO.  MARTINEZ responded in the negative.
                   MARTINEZ further noted that at the hotel, the night of the murder,
                   all three (3) agreed to not t~ll anyone regarding the murder of
                   ANGELO.

                              When asked if he had any further details, MARTINEZ
                   replied that he did not.   MARTINEZ was then asked to write out a
                   statement in his own words of what happened.   MARTINEZ complied at
                   12:l0p and prepared a two page, single spaced, hand-written
                   statement.   That written statement is currently maintained as
                   evidence by the Federal Bureau of Investigation.

                             Field Note:  MARTINEZ wrote the first page of his
                   statement on the back of the diagram showing DIANA's apartment and
                   the occupants of CHICO's vehicle on the night of ANGELO's kidnaping
                   and murder.

                             MARTINEZ was then advised of the federal search warrant
                   which authorized t h e interviewing agents to take DNA samples in the
                   form of buccal swabs from MARTINEZ.    MARTINEZ was advised that if
                   he was not in DIANA's apartment when ANGELO was kidnaped, the swabs
                   may help to corroborate his statement.    MARTINEZ advised that he
                   was not in DIANA's apartment on the night in question and was happy
                   to provide the swabs.

                             Field Note : An original FD - 302 was prepared by Special
                   Agent Hochrein to doc ument the service of the search warrant .

                             MARTINEZ was then provided with a cup of water bu:
                   decl~ned to drink it, indicating he was not thirsty .

                                    MARTINEZ tten in~tialed the ima ges which he was shown by,
                   a ~d discussed with; the investigating a a ents.       These p h otographs
                   ~ e re also retained as evidence as were the drawings ~ade by
                   ,•JA RT I:•lE:Z.

                             MARTINEZ asked what wo~ld happe~ next.  MAR~INEZ was ~o~j
                   that his infor~ati~n wcu:d be pr~7ided to the prosecutJr in ~his
                   ~atter ~ho ~oGld rev~e~ a~d a~tempt to corroborate the informati~~


                    EXHIBIT 101 Page 015
                    Case 4:17-cv-03621 Document 18-101 Filed on 07/01/19 in TXSD Page 16 of 16


FD-30::!a I Rei I 0-6-()51




                7.Z\-HC-'71062



Cnnl111uat1on of FD-302 nf      CAR!iELC _.J.:!:..PTL,iEZ               on C5 / 2 3 / 2 0 1 l


               provided by MARTINEZ.        MARTINEZ was further advised that he could
               be provided with the writer's contact information in the event
               MARTINEZ needed co contact the writer.        MARTINEZ was then told that
               an a d i t ional me etin g or meetings might occur.   MARTINEZ responded
               c h a t he  id n o t want t he writer's contact information.  MARTINEZ
               als o stated that if anyone provided information that was
               inconsistent with MARTINEZ's statement then that individual was
               ly in g . ~~RTI EZ explained that only three (3) people know what
               happened to ANGELO : himsel•f, CHICO, and ROGELIO.

                         The interview ended and an MVCI guard escorted the inmate
               away from the interview room.  At no time was MARTINEZ made any
               promises with regard to charges, plea agreements, sentencing, et
               cetera.




                EXHIBIT 101 Page 016
